     1:19-cv-00444-TLW         Date Filed 03/14/22     Entry Number 86       Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                                 AIKEN DIVISION

THE UNITED STATES OF AMERICA,         )            No. 1:19-cv-0444-TLW
                                      )
      Plaintiff,                      )
                                      )
      vs.                             )
                                      )
CB&I AREVA MOX Services, LLC, et al., )
                                      )
      Defendants.                     )
___________________________________ )

 JOINT STIPULATION OF DISMISSAL AS TO CB&I AREVA MOX SERVICES, LLC

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the Plaintiff

 United States and the Defendant MOX Services, LLC, formerly known as CB&I AREVA MOX

 Services, LLC (“MOX”), by and through their respective counsel, hereby stipulate and agree

 that the Defendant MOX is dismissed from this action with prejudice. Each party shall bear its

 own costs in connection with the above-captioned case.

        WE SO AGREE AND STIPULATE.


Dated: March 14, 2022                              Respectfully submitted,

s/Lindsay A. Joyner                                COREY F. ELLIS
John E. Cuttino (Fed. Bar No. 00394)               UNITED STATES ATTORNEY
Lindsay A. Joyner (Fed. Bar No. 11557)
GALLIVAN, WHITE & BOYD, PA                         s/Johanna C. Valenzuela
1201 Main Street, Suite 1200                       Johanna C. Valenzuela (#11130)
Post Office Box 7368                               Sheria A. Clarke (#13435)
Columbia, South Carolina 29202                     Assistant United States Attorneys
(803) 779-1833                                     1441 Main St., Suite 500
(803) 779-1767 (f)                                 Columbia, SC 29201
jcuttino@gwblawfirm.com                            (803) 929-3122
ljoyner@GWBlawfirm.com                             Johanna.Valenzuela@usdoj.gov

Thomas E Wheeler, II                               Jamie Ann Yavelberg
                                                   Robert McAuliffe
      1:19-cv-00444-TLW        Date Filed 03/14/22   Entry Number 86     Page 2 of 2




 Frost Brown Todd LLC                            Don Williamson
 PO Box 44961                                    Rory L. Skaggs
 Indianapolis, IN 46244                          Attorneys, Civil Division
 317-237-3800                                    United States Department of Justice
 twheeler@fbtlaw.com                             P.O. Box 261, Ben Franklin Station
                                                 Washington, D.C. 20044
                                                 Attorneys for the United States of America

 Anthony W Overholt
 Frost Brown Todd LLC
 PO Box 44961
 Indianapolis, IN 46244
 aoverholt@fbtlaw.com

 Attorneys for Defendant
 CB&I AREVA MOX Services, LLC, et al.



 s/ Bill Nettles____________
Bill Nettles (Fed. Bar No. 6586)
Frances C Trapp (Fed. Bar No. 6376)
BILL NETTLES LAW
2008 Lincoln Street
Columbia, SC 29201
bill@billnettleslaw.com
fran@billnettleslaw.com

Mary E Lentz (pro hac vice)
FOOS & LENTZ, LLP
500 Performance Place
109 North Main Street
Dayton, OH 45402
mlentz@flp.law
Attorneys for Wise Services, Inc.




                                             2
